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                              IN THE UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


S U M AY YA M U H A M M A D                                      Case No.

                        plaintiff,
                                                                 Honorable Judge
        V .




CHICAGO TRANSIT AUTHORITY,                                       Magistrate Judge
CHICAGO TRANSIT BOARD
                        defendants.




                        COMPLAINT FOR EMPLOYMENT DISCRIMINATION




        This is an action for declaratory and injunctive relief and for damages against the

defendants to redress deprivation of plaintiffs civil rights under 42 U.S.C. §1983 and rights

secured by the Civil Rights Act of 1964, as amended, 42 U.S.C.A. .§§2000 et seq., 1981      a s




amended whereby plaintiff, SUMAYYA MUHAMMAD, (MUHAMMAD), by and through her

undersigned attorneys, complains against defendants as follows:

                                                  PA R T I E S


       1.
               SUMAYYA MUHAMMAD is aU.S. Citizen residing in the State of Illinois in the City

of Chicago, County of Cook.

       2.
                Defendant,CHICAGOTRANSITAUTHORITY(CTA),isanindependentgovernmental

agency headquartered in City Chicago, County of Cook in the State of Illinois, operating under

the authority of the Chicago Transit Board.

       3.
               Defendant, CHICAGO TRANSIT BOARD (CTB), is the governing arm of the CTA. and

operates in City of Chicago, County of Cook in the State of Illinois.
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                                        JURISDICTION AND VENUE


           4.      Jurisdiction of this court is invoked pursuant to 28 U.S.C.A. §§1331, 1343 (a)(4).

     2201, 2202, 42 U.S.C.A. §§ 1981, 1983, amended, and Title VII. Speci cally jurisdiction to grant

     injunctive and equitable relief as well as damages is invoked pursuant to 42 U.S.C.A. §§2000

     U.S.C.A. §1981, as amended. Supplemental jurisdiction is provided under 28 U.S.C.A. §1367.

            5.     Venue is proper in this Federal District Court under 28 U.S.C.A. §1391 because


     the acts complained of by the plaintiff occurred within this judicial district and the defendants

     have aprincipal place of business within this judicial district. Additionally, pursuant to Title VII

     of the Civil Rights Act of 1964, as codi ed, 42 U.S.C section 2000e to 2000e-17, this is aCivil

     Rights matter.

            6.
                   Plaintiff led acharge against the defendant, CTA with the U.S. Department of

     Justice Civil Rights Division, Equal Employment Opportunity Commission and on January 13,

     2023, the U.S. Department of Justice Civil Rights Division, Equal Employment Opportunity

     Commission issued a"NOTICE OF RIGHT TO SUE WITHIN 90 DAYS". Acopy of the NOTICE OF

     RIGHT TO SUE WITHIN 90 DAYS is attached hereto as Exhibit "A".


                                            CAUSE OF ACTION


           7.
                   The location of the acts which amounted to the discriminatory action occurred at

     CTA Headquarters on CTA property in the County of Cook, State of Illinois in the City of Chicago.

           8.
                   This action is bought by the plaintiff, who was an employee of the defendant, CTA

     at the time the discriminatory actions occurred.

           9.
                   The discriminatory conduct of the defendant, CTA which plaintiff complains of in

     this complaint included failure to provide aproper religious accommodation forthe plaintiff and


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     subsequently terminating plaintiffs employment in violation of Title VII of the Civil Rights Act

     of 1964, as codi ed, 42 U.S. Csections 2000e to 2000e-17.

           10.     On or about July of 2021, plaintiff, who was a14 year employee of defendant, CTA

was directed to participate in the CTA Mandatory Vaccination Policy which required full COVID-

19 vaccination.


           11 .   The Policy further provided that in limited circumstances, an employee may be

 excused from the mandatory vaccination policy ..."where documentation of asincerely held

     religious belief or observance which prevents them from receiving the COVID-19 vaccine ...

     [was provided]", and application to be excused for Religious beliefs was to be made via the

 COVID-19 Religious Accommodation Form. ". Acopy of the Mandatory Vaccination Policy for

All CTA Employees is attached hereto as Exhibit "B" (3 pages).

           12.
                   On or about September 15, 2021, plaintiff led the appropriate application to be

 excused from the mandatory vaccine for Religious beliefs by completing and submitting the

 required COVID-19 Religious Accommodation Form.              .Acopy of the Letter Re: Request for

Religious Accommodation or Moral Conviction; Completed REQUEST FOR RELIGIOUS

EXEMPTION/ ACCOMMODATION RELATED TO COVID-19 VACCINE; and Letter from Ishmael R.

Muhammad of Nation of Islam are attached hereto as Exhibits "C" (2 pages), "D" (2 pages) and

"E" respectively.

           13.
                  As part of the application process by plaintiff, in addition to providing the

fundamental proof of af liation as amember of her religious denomination as requested. See

copy of the Letter from Ishmael R. Muhammad of Nation of Islam is attached hereto as Exhibit

     ’E", plaintiff also provided as part of her application, in aGrievance Blank form, explaining that


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 her position as aFrozen Tower Person, did not require her to work in close proximity with other

 persons. Additionally, the plaintiff voluntarily agreed to wear appropriate safety masks and be

 routinely tested. Acopy of the Grievance Blank form is attachecJ hereto as Exhibit "F".

        14.     Thereafter on or about August 3, 2022, defendant denied plaintiffs request and

 instead discharged the plaintiff under the guise of "poor judgment in the execution of your

 duties and responsibilities." However, the speci cs of the discharge memorandum shows that

 the discharge was due to the fact that "the plaintiff was required to become fully vaccinated and

 upload proof of vaccination record to the employee self-service portal by November 1, 2021, to

 be in compliance with CTA is mandatory employee COVID-19 vaccination policy.', and that

 plaintiff's failure to do so amounted to    poor judgment in the execution of your duties and

 responsibilities.   Acopy of the NOTICE OF DISCHARGE is attached hereto as Exhibit "G" (2

 pages).

        15.
                 On information and belief, defendant had similar requests for religious

accommodations from other non-Muslim individuals --not members of the Nation of Islam, who

were granted the accommodation.

        16.
                As aresult of defendant's discrimination wrongfully discharged of plaintiff on June

6, 2022, plaintiff has by suffered economic losses in the form of wages loss, and loss of bene ts.

loss of retirement bene ts, and loss of seniority at her job with CTA and thereby has sustained

actual damages in excess of $100,000.00.

       17.
                Plaintiff also experienced emotional distress ad damage to her reputation by being

discriminated against as aMember of the Nation of Islam and thereby sustained damages.

       WHEREFORE, Plaintiff, MUHAMMAD, prays that this honorable court:


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                a. Enter judgment in plaintiffs favor and against defendants for their violations
                   of Title VII; and


                b. award plaintiff actual damages suffered, including lost wages, with any
                     increases, and PTO; and


                c. reinstate plaintiff to her position with seniority, pension bene ts, and
                   increases in pay which would have been applied but not for the interruption
                     in employment; and

                d. award plaintiff compensatory damages under Title VII for embarrassment,
                     anxiety, humiliation, and emotional distress plaintiff has suffered; and

                e. award plaintiff prejudgment interest on her damages award; and

                f.   enjoin defendants, their of cers, agents, employees, and anyone acting in
                     concert with them, from discriminating, harassing and retaliating against
                     plaintiff and any employee; and


                g. award plaintiff reasonable attorney fees associated with the prosecution of
                     this case; and


                h. award plaintiff any other and further relief that this court deems just and
                     proper.




                MARCH 29, 2023.                Respectfully Submitted,

                                               BOBBY LWARE AND ASSOCIATES, LLC

                                               By: /s/Bobby Ware
                                                       Bobby LWare
                                                       Attorney for plaintiff
                                                       S U M AY YA   MUHAMMAD




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                                 RULE    11   C E RT I F I C AT I O N




Under Federal Rule of Civil Procedure 11, by signing below, Icertify to the best of my knowledge

information and belief this is that this complaint; 1/ is not being presented for an improper

purpose such to harass, cause unnecessary delay, or needlessly increase the cost of litigation; 2/

is supported by existing law or by anon-frivolous argument for extending, modifying, or reversing

existing law; 3/ the factual contentions have evidentiary support or if speci cally so identi ed,

will likely have evidentiary support after reasonable opportunity to further investigation for

further investigation or discovery; and 4/ the complaint otherwise complies with requirements

of rule 11.


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                                                          Plaintiff- SUMANVa MUHAmMAD
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